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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )           8:05CR86-4
                                             )
                     Plaintiff,              )
                                             )
       vs.                                   )           MEMORANDUM
                                             )           AND ORDER
HEATHER M. ELLIS,                            )
                                             )
                     Defendant.              )

        This matter comes on to consider the defendant’s motion to continue self-surrender
date (filing 135). Having considered the matter,

       IT IS ORDERED that:

       (1)    The defendant’s motion to continue self-surrender date (filing 135) is granted.

       (2)    The defendant’s commitment date to the Federal Bureau of Prisons is hereby
continued to January 24, 2006, at or before 2:00 p.m.

       (3)   Copies of this memorandum and order shall be provided to counsel of record,
the Probation Office, and the United States Marshal. The United States Marshal shall
provide the Bureau of Prisons with a copy of this memorandum and order.

       (4)    If the Bureau of Prisons selects a different self-surrender date than the one
ordered in paragraph 2 above, the Bureau of Prisons shall not select a date any earlier than
January 24, 2006. And, the United States Marshals Service shall notify the defendant,
counsel of record, and the Probation Office of the new date selected by the Bureau of
Prisons.

       January 6, 2006.                          BY THE COURT:

                                                 s/ Richard G. Kopf
                                                 United States District Judge
